Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 1 of 72 Page ID
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Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 3 of 72 Page ID
                                 #:1849



                               Exhibit A
   Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 4 of 72 Page ID
                                    #:1850




                                                                                                                                     •
  From:    Rachelle Lynch rachelle@spur.is
Subject:   WFM Round 1 Category Review Submission
   Date:   August 21, 2013 at 2:39 PM
     To:   Alex McIntosh alex.mcintosh@ecomundiventures.com
    Cc:    LeeAnn Stevens leeann@spur.is

       Ok, here you go!

       Please print (ONE) copy of each page, insert into a box with the product samples and ship to:

       Whole Foods Market
       ATTN: Joanne Brenner
       5980 Horton Street #200
       Emeryville, CA 94608

       Near the shipping label, make sure to write in big letters "ROUND 1 SAMPLES" so that she knows there are samples inside.

       If you decide to write a note or put your business card inside, please include a comment that I'm on your team and will be submitting
       docs to her electronically by 8/23.

       Go us!




            THRIVE FY14
           Nor Ca…ide.ppt
   Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 5 of 72 Page ID
                                    #:1851

  From:    Alex McIntosh alex.mcintosh@ecomundiventures.com
Subject:   Re: WFM Round 1 Category Review Submission
   Date:   August 22, 2013 at 2:58 PM
     To:   Rachelle Lynch rachelle@spur.is
    Cc:    LeeAnn Stevens leeann@spur.is

       Hi. So our friend Joanne brenner will get three great bottles of thrive, plus printed ppt, plus a little note from thrive founder, tomorrow
       by 10:30am.

       Ill send you photo of my note FYI.

       Great work.

       What's next to make the sale with WFM? ;)

       Alex McIntosh

       On Aug 21, 2013, at 2:39 PM, Rachelle Lynch <rachelle@spur.is> wrote:

       Ok, here you go!

       Please print (ONE) copy of each page, insert into a box with the product samples and ship to:

       Whole Foods Market
       ATTN: Joanne Brenner
       5980 Horton Street #200
       Emeryville, CA 94608

       Near the shipping label, make sure to write in big letters "ROUND 1 SAMPLES" so that she knows there are samples inside.

       If you decide to write a note or put your business card inside, please include a comment that I'm on your team and will be submitting
       docs to her electronically by 8/23.

       Go us!
       <THRIVE FY14 Nor Cal WB New Item Submission Slide.ppt>
   Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 6 of 72 Page ID
                                    #:1852




                                                                                               •
  From:    Rachelle Lynch rachelle@spur.is
Subject:   Re: Alex letter to Joanne/WFM
   Date:   August 22, 2013 at 9:24 PM
     To:   Alex McIntosh agmcintosh@gmail.com

       Very nice!!!! I'm thrilled to submit this over to her and see what happens. WHOO HOO!

       On Thu, Aug 22, 2013 at 8:33 PM, Alex McIntosh <agmcintosh@gmail.com> wrote:
        FYI
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 7 of 72 Page ID
                                 #:1853




                                                           • BRAND NEW LINE - MEN'S FACIAL CARE - (3) SKUs
   COSTA RICA• SAN FRANCISCO                               • Born in Costa Rica, and brought to your consumers via an
                                                             innovative social enterprise model - talented female entrepreneurs
                                                             involved in product design, partnership with rural farmers and the
                                                             country's leading biodynamically certified farm to supply the
                                                             active botanical plants
                                                           • Beyond Sustainability: with 85% of Costa Rica's original forests cut
   A BETTER WAY TO GROOM                                     down, Thrive is partnering with others to regenerate degraded
                                                             landscapes so that the places that supply our plants become
                                                             healthier & more productive over time.
                               FACE BALM                   • Products feature two potent and very special active botanicals:
                               Protects and energizes
                                                                      Approved for use in EU and US.
                               skin while reducing
                                                                      A. chica - a natural antioxidant used for 100+ years by
                               irritation.
                               WFM Cost (Delivered)                   indigenous people to treat inflammation and heal skin
                               per unit = $7.50                       infections. This glorious vine is prized by locals - Thrive is
                               MSRP per unit= $14.99                  working with partners to re-establish it in Costa Rica.
                               GM50%                                  L. alba - a natural antioxidant, loaded with antiseptic and
                               Size: 2 fl oz.
                                                                      antifungal properties, known for it's ability to reduce skin
                               UPC 8-52200-00501-5
                                                                      infection and irritation. Mother Nature blessed this plant
                               FACE WASH                              with an intoxicating aroma of mint + citrus - a natural
                               Cleanses, energizes and                fragrance indeed!
                               refreshes skin.
                                                           • Shatterproof and highly recyclable PET bottles.
                               WFM Cost (Delivered)
                               per unit = $5.00            • Absolutely NO synthetic preservatives or formaldehyde donors,
                               MSRP per unit = $9.99         synthetic detergents, parabens, phthalates, synthetic fragrances or
                               GM50%                         synthetic colors.
                               Size: 3.38 fl oz.
                               UPC 8-52200-00500-8         •   Premium Body Care: YES - All SKUs meet Premium Body Care
                                                               standards
                               SHAVE OIL                   • Exclusive: NO
                               Conditions skin for a
                                                           • Channel Strategy: Natural, Specialty
                               smoother, irritation-free
                               shave.                      • Promotional Support: Quarterly TPRs with 30% 01
                               WFM Cost (Delivered)        • Monthly Demo Support + Testers       + Samples
                               per unit = $5.00            • In Store Launch: January /2014
                               MSRP per unit = $9.99
                                                           • Distribution: Direct (open to UNFI, if accepted into all doors) : ~
                               GM50%
                               Size: 1 fl oz.
                               UPC 8-52200-00502-2
                                                                    Rachelle Lynch rachelle@spur.is (480) 544-3383            -,,!i!~l
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 8 of 72 Page ID
                                 #:1854




              FACE BALM Aqua/water, Glycerin*, Aloe Borbodensis Leaf Extract***, Coprilic/Copric Triglyceride, Glyceryl
              Steorote**, Ceteoryl Alcohol**, Sodium Steoroyl Loctylote**, Macadamia Ternifolio (Macadamia nut) Seed
              Oil***, Butyrospermum Porkii (Shea) Butter, Oleo Europeo (Olive) Fruit Oil***, Argonia Spinoso Kernel Oil,
              Xonthon Gum, Lippio Alba Oil, Arrobidoceo Chico Extract, Helionthus Annuus (Sunflower) Seed Oil,
              Rosemorinus Officinolis (Rosemary) Leaf Extract***, natural fragrance** (Grapefruit Oil, Lemon Oil, Orange
              Oil, Vetiver Oil, Star Anise Oil), Dehydroocetic Acid**, Benzyl Alcohol**, Lactic Acid**




              FACE WASH Aqua/water, Glycerin*, Coco-Glucoside**, Louryl Glucoside**, Xonthon Gum, Polyglyceryl-4
              Lourote/Sebocote and Polyglyceryl-6 Caprylote/Coprate**, Argonia Spinosa Kernel oil, Lippio Alba Oil,
              Arrobidaceo Chico Extract, natural Fragrance** (Grapefruit Oil, Lemon Oil, Orange Oil, Vetiver Oil, Star
              Anise Oil), Dehydroocetic Acid**, Benzyl Alcohol**, Lactic Acid**




              SHAVE OIL Coprilic/Capric Triglyceride*, Oleo Europeo (Olive) Fruit oil***, Sodium Caproyl Loctylate**,
              Sodium Louroyl Lactylate**, Argonia Spinosa Kernel oil, Polyglyceryl-4 Laurote/Sebacote and Polyglyceryl-6
              Coprylote/Coprate**, Helionthus Annuus (Sunflower) Seed Oil, Rosemarinus officinolis (Rosemary) Leaf
              Extract***, Lippio Alba Oil, Arrabidoceo Chico Extract, Mentho Piperito Oil, Eucalyptus Globulus (Eucalyptus)
              Leaf Oil, natural fragrance** (Grapefruit Oil, Lemon Oil, Orange Oil, Vetiver Oil, Star Anise Oil)




               *VEGETABLE-ORIGIN       I   **ECOCERT or NATRUE CERTIFIED      I   ***ORGANIC
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 9 of 72 Page ID
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Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 10 of 72 Page ID
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                               Exhibit B
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 11 of 72 Page ID
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                                                           #skincare

                                                           294w


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                                                           #grooming #shaveoil
                                                           #veganskincare #allnatural
                                                           #allnaturalbeauty
                                                           #allnaturalproducts #costarica

                                                           294w Reply



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                                                           294w Reply


                                                           alissasears22 My favorite!!

                                                           294w Reply




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                                                         taking in the beautiful Colorado
                                                         rockies. This isjust one of the many
                                                         breathtaking summits Jalissa climbed
                                                         while on a 6 month national park
                                                         adventure.
                                                         Where's the mosl breathtaking view
                                                         you've been to/ #wethrive

                                                         #Repost @avocadodreams with
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                                                         I found my new favorite place in this
                                                         world. iii by @cloud9alpine

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                                                         thrivenat uralcare #colorado            o
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                                                                                                                              thrivenaturalcare We're inspired
                                                                                                                              constantly by our community of
                                                                                                                              Thrivers. Like @247_betterola who
                                                                                                                              made a choke to be happy and
                                                                                                                              healthy, and to make it happen every
                                                                                                                              day! That's what we call an
                                                                                                                              #owntheday mentality. Join our
                                                                                                                              community.



                                                                                                                              #thrivecareOTD #Pacuarelodge
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                                                                                                                              #biodiversity #sustainability
                                                                                                                              #farmtoface #naturalskinc:are
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                                                                                                                              #startuplife #thrivelife




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     More posts from thrivenaturakare




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                                                                                                                                   thrivenaturalcare Ditch the synthetics
                                                                                                                                   & try the strength of traditional
                                                                                                                                   botanicals from Costa Rica. Experience
                                                                                                                                   the power of natural grooming
                                                                                                                                   products that actually work. Click link
                                                                                                                                   in bio to learn more @thrivecare.
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     More posts from thrivenaturalcare




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                               Exhibit C
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                              INSP I RATIO N




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                  science i.f so st1·onf(, @l1ere
                     r~hen you take off the
                  makeup J'ou1· skin i~· even
                    bette1· than it was when
                         J'ou put it on. "
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                                                             Featured Articles


                                                                                                      ACNE, SKIN SCIENCE


                                                                                                       Makeup \Vith Skincare
                                                                                                       Benefits
                                                                                                       From acne- prone to sensitive skin, there's a
                                                                                                       ma keup collect ion j ust for you.
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HOW TO                                          SKIN SCIENCE                                         SKIN SCIENCE, HOW TO


Concealer Benefits & Six                        How Lo Prevent Dry Skin and Meet The Bright, Young
Different Uses                                  Address 4 Common Issues                            Minds Behind Bright
O ur must-try concea ler hacks for all makeup   Find your skincare for dry skin based on the issue BoosLTM
looks.                                          your seeing, from redness to itchiness & more. We    Explore the j ourney of four fema le , millennial
MAY 26 2020                                     share t ips to hand le each type of issue & how to   scientists in Neutrogena's f irst-ever global
                                                prevent dry skin.                                    collaboration.
                                                MARCH 24 2020                                        APRIL 30 2019
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 SKIN SCIENCE                      SUN, HOW TO                             SKIN SCIENCE


 \Vhat Is PHA Skincare             How to Use Sunscreen Daily: Kaolin Clay Benefits: Meet
 (Polyhydroxy Acid), and           Incorporating SPF Into Your Nature's Multitasker
 What Does It Do for Skin"?        Skincare                    Looking for a beauty ingredient that wi ll deep

 DECEMBER 9 2020                   DECEMBER 9 2020
                                                                           cleanse, calm, and tone your skin without causing
                                                                           any over drying? Here's how kaoli n clay benefits
                                                                           your skin.
                                                                           OCTOBER 15 2020




                     INSPIRATION



"I feel so much better going about the
rest ofmJ' da.v kno"'ing that my skin
 is being taken care of, and I tlitln 't
       even have to book a spa
            appointment. "
                   CARLA   NUNEZ
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►    Get #Unready with Kerry Washington




                            The Latest and Greatest

                                                      SKIN SCIENCE


                                                      Oily Skin 101: \Vhat You
                                                      Need to Know
                                                      Here's what you need to know about how
                                                      the oily skin type is ident ified and defined,
                                                      as well as the best ways to treat (and
                                                      prevent) it.
                                                      THURS OCTOBER 15



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    \\!hat Are the Vitamin E
                                                 #:1867
                                                                             ACNE, HOW TO


                                                                             How to Use Retinol in Your
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    Benefits for My Skin'?                                                   Acne Routine                                                                      Quiz by Neutrogena®
    Find out how this im portant vitamin helps to reveal Retinol is a skincare workhorse - but one lesser                                                      Meet your makeup match! Our improved
    beautiful, healthy skin.                                                 known benefit is reducing acne marks. Here"s how                                   Neutrogena® Makeup Quiz makes it easier.

    OCTOBER 15 2020                                                          to use retinol to complement your acne regimen.                                   AUGUST 31 2020

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                                                            AM OVERVIEW OF
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QUESTIONS REGARDING BATHING,
                                        BODY
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                                                                                                                         Everyday Self-Care                                        Skim::&re ~e~lmen Bullde-r

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                   Moisturize
                   When skin is completely hydrated, 1t
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                                                                        Truly Glowing Day Lotion For                            Truly Glowing Night Cream For
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                                            *****
                                            "It absorbs quickly
                                            into my skin and
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                                                                                                     Truly Glowing Night Cream
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                                                          From blue light lig hters to intense hydration and nourishment to an
                                                           overnight reset for skin, find your new go-to nighttime regimen.




Aclv;:inced N ight Rep;:iir Serum                            Advanced N ight Repair Eye                                        Advanced N ight Rep;:iir
Our #1 serum to powerfully fight the look of                 Supercharged Complex                                              Intense Reset Concentrate
multiple signs of aging.                                     Repairs. B rightens dark circles. H ydrates.                      Rescues and resets the look of skin fast.
                                                             Prev ents.
SHOP NOW                                                                                                                       SHOP NQW
                                                             SHOP NOW




                                                                 Sun's Out SPF On
                                                                    Elevate your routine with a new high level SPF.




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DayWear                                        Futurist                                       Perfectionist Pro                                Double Wear
Sorbet Creme SPF 15                            H ydra Rescue SPF 45                           UV Fluid SPF 45                                  Cushion BB SPF 50
An innovative waterlight texture +             Flawless makeup with serious skincare.         A next-gen SPF for UVA/UVB , pollution           Cushion makeup with the lasting power
powerful protection.                                                                          and dehydration defense.                         of Double Wear.
                                               SHOP NOW
SHOP NOW                                                                                      SHOP NOW                                         SHOP NOW




                                                                 Flawless For Spring
          Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 34 of 72 Page ID
                                           #:1880




All the Ways to Double Wear                                 Double Wear Stay-in-Place Makeup
From foundation to concealer to matte powder, Double Wear   Ava ilable in over 5S shades and boasts o i l-free,
g ives you a flawless makeup look-rain or shine.            oil-controlli ng, waterproof lo ng wear.


SHOP THE COLLECTI ON                                        flNP YOUR PERFECT MATCH




                                                                                      Pro Tricks at
                                                                                      Your Fingertips
                                                                                     TREND REPORT:
                                                                                     OUR FIRST-EVER DIGITAL MAGAZINE!
                                                                                      Watch how· to videos, learn
                                                                                     new application techn iques and
                                                                                     read answers to your burning
                                                                                     beauty questions.


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                                                                                         Now you can book a complimentary
                                                                                         video lesson with an Estee Lauder expert .
                                                                                         C hoose one-on-one, or invite a group
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                                                       Power Up Your Radiance




                               ESI EE LAUDER
                          Revitalizing Supreme+ Bright
                                  Po,.,,, Soll Oeme
                                                                                                ESTEE
                                                                                                LAUDER
                       e-------- Oooie doucevr oclal

                                                                                                Perfectionist Pro
                                                                                                l!.i1wl Ro,xN.,•nr
                                                                                                Treatment
                                                                                                h"fTl'K'f'll1 +V11 ,m.n(




High-Performance Moisturizer                                      Fast-Acting Serum
Impart radinnce nnd even skin1one. Revi1nlizing Supreme+ Bright   Perfectionist Pro Rapid Brighten ing Treatmem with Ferment' +
v isibly improves d,uk spots and acne marks for renewed clarity   Vitamin C reduces the look of dark spots and acne m,uks. Evens
nnd a heallhy looking glow.                                       skintone. Boost an undeni.1ble clari1y and inner light.


SHOP NOW                                                          SHOP NOW




                                                                                       Your Shade of
                                                                                       Flawless
                                                                                      Find your perfec t march from the comfort of home :


                                                                                       Try 2 shades of Double Wear for just $15.
                                                                                       Select the 2 I haI best match your complexion,
                                                                                       and we' ll send you a deluxe sample of each.

                                                 7                                     Try them both, choose your favorite, then
                                                                                      receive 1 5 % off the full size at esteelauder.com !


                                                                                         GET STARTED NOW
             Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 36 of 72 Page ID
                                              #:1882




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                                      #Estee Lauder

         <                                                                                                                    >
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                                           DISCOVER




                                                           Beautifu l Together               3 M inutes With ... Ana
,d the                                                     Stories of Estee Team mem bers,   Meet Estee Lauder's newest
                                                           Brand Ambassadors, ...            G lobal Brand Ambassador.

                                                           BRANO S TORY,                     BRANO STORY. WOM E N W E LOVE,
                                                           OUR FOUNOER "S STORY              #ESTEEMOOEL , 3 MINUTES WITH


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                                             #:1883                                                                          .:.
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means you love it or return it- and we    installments on orders $35 and above!   Box during checkout for any                order p lus exclusive rewards, benefi ts
cover the postage both ways!                                                      esteelauder.com purchase.                  and much more.

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Aesop.

Skin


All Skin I Skin Care Gifts      Cleanse   Exfohale     Treat & Masque     Tone   Hydrate   Eyes & lips   Shave      Sun Care   Kits    Skin Care Bundles             Riter by




                                                                                                                                             Dally essential




Skin Care Gifts
Within our family of products,
Aesop Skin Care formulations
are sought-after for both
personal use and as
thoughtful gifts.



See all Skln Care Gltts (16)   ➔              Parsley Seed Anti-Oxidant                    Rosehlp Seed Up Cream                       Mandarin Facial Hydrating                lmmedlate M
                                                       Serum                                                                                   Cream                                   Hydt
                                                                                               0.2 oz $15.00
                                                     3.4 n oz   S75.oo                                                                      2.1 oz SS0.00                            170oz




                                                                                                Dally essential                           Beloved formulation




Cleanse
Cleansing skin of daily grime,
sweat and other impurities
forms the foundation of an
intelligent skin care regimen.



See all Cleanse (9)    ➔                       Amazing Face Cleanser                       Fabulous Face Cleanser                     Parsley Seed Facial Cleanser             Parsley Seed F
                                                                                                                                                                                           C
                                                2 Sizes     From $33.00                     2 Sizes   From $33.00                        2 Sizes   From $43.00
                                                                                                                                                                                    6.8ftoz




                                                                                                Favoured gift
              Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 39 of 72 Page ID
                                               #:1885


Exfoliate
Effective exfoliation liberates
skin of grime, excess oil and
dead skin cells to reveal soft,
fresh and smooth skin.



See all Exloliate (3)       ➔       Tea Tree Leaf Facial Exloliant   Purifying Facial Exfoliant Paste   Gentle Deep-Cleansing Duo

                                           1.1 oz $40.00                    2.9 oz      $53.00                   $100.00




                                                                                                                                            ~II
Treat & Masque
Formulations to supplement
any regimen, from deep-
cleansing masques to
hydrating treatments and
nourishing facial oils.

                                                                                                                                                I
See all Treat & Masque (11)     ➔         Fabulous Face Oil              Damascan Rose Facial           Chamomile Concentrate Anti-   Parsley See
                                                                             Treatment                      Blemish Masque                    Maf
                                          0.9 fl oz   $57.00
                                                                            O.Q ft oz   $75.00                2.1oz $45.00                 2.1 oz




Tone
The ever-important
connection between
cleansing and hydrating,
toning balances skin to ensure
it derives maximum benefits
from hydration.



See all Tone (4)        ➔           Bitter Orange Astringent Toner      B & Tea Balancing Toner          Parsley Seed Anti-Oxidant    In Two Minde
                                                                                                                Facial Toner
                                        2 Sizes   From $35.00            2 Sizes     From $35.00                                       2Sizes       F
                                                                                                           2 Sizes From $43,00




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n yu1aCase
      L~               2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 40 of 72 Page ID
                                                   #:1886
Essential for skin's optimal
health and appearance,




                                       E
hydrating replenishes
moisture, nourishes, soothes
and sustains skin.



See all Hydrate (23)      ➔        Parsley Seed Anti-Oxidant       Oamascan Rose Facial         Fabulous Face Oil     Moroccan Ne,
                                    Faclel Hydrating Cream             Treatment                                               Loi
                                                                                                0 9 fl oz $67.00
                                         2.1oz $75.00                0.9 fl oz        $75.00                                 21oz




Eyes & Lips
                                                                             w
Far thinner than skin
elsewhere, lips and the skin
                                                                             "
                                                                             lj  ,,
surrounding the eyes are
fragile and sensitive to the
elements, demanding regular
hydration and daily protection.



See all Eyes & Lips (5)       ➔   Parsley Seed Anti-Oxidant Eye   Rosehip Seed Lip Cream            Remove            Parsley Seed A.
                                             Serum                                                                               ere
                                                                      0.2 oz $16.00             2.0 fl oz $23.00
                                        0.5 fl oz $81.00                                                                     0.4oz




Shave
Formulations and tools to
furnish a regimen that prizes a
razor-close shave, calm, fresh
and supple skin.



See all Shave (8)   ➔             Moroccan Neroli Post-Shave
                                           Lotion
                                                                  Moroccan Neroll Shaving
                                                                         Serum
                                                                                               Stainless Steel Bowl

                                                                                                     $26.00
                                                                                                                             J
                                                                                                                           Oouble-E

                                                                                                                                  $10
                                         2.1 oz SS0,00             2 Sizes   From S3ZOO




                                                                      Recent addition




Sun Care
Daily protection from UVA and
UVB rays is key to sustaining                                                                                                  ""'P
healthy, supple skin. In                                                                                                       l iii
addition to protection, Aesop                                                                                                  -~--=   ,::
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          Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 41 of 72 Page ID
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hydration and skin-softening
nourishment.



See all Sun Care (4)      ➔
                                           #:1887


                                   Petitgrain Reviving Body Gel
                                                                                       I
                                                                                 Avail Facial Lotion with
                                                                                       Sunscreen
                                                                                                                          Sun Care Essentials            Avail Body
                                                                                                                                                              Suns.
                                         5.1 II oz $41.00                                                                       $142.00
                                                                                    1.8oz $60.00                                                            5.4 oz




Kits
Superb selections to steer a
well-rounded skin care
regimen. suited to most skin
types.



See alt Ktts (6)    ➔              Parsley Seed Extended Ant/-               Parsley Seed Anti-Oxidant Skin          Balance: C lassic Skin Care Kit   The Metaph)'
                                      Oxidant Skin Care Kit                             Care Kit
                                                                                                                                $120.00                        $171
                                            $300.00                                     $160,00




Skin Care Bundles
Formulations that
complement each other give
skin exceptional attention and
care in a simple regimen.



See all Bundles (9)      ➔         Enhanced Hydration for Olly                Enhanced Hydration for Olly            Vitamin-Rich Hydrating Blend        Boosted A
                                     and Combination Skin                        and Combination Skin                        tor Dry Skin                  Hydratlc

                                             S135.00                                    $124.00                                 $125.00                        $12l




                                                                  Eminently suited to all

                                                                  An Aesop Gift Card is the ideal gift for the fussy, the faraway and anyone
                                                                  in between-conveniently delivered with the click of a mouse to conceal
                                                                  last-minute selections.



                                                                     Purchase now                           ➔
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                                                                        FAQs;,,                   Live assistance       Language: mglish

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                                                                        Check gift card balance

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All Aesop products are vegan. and we do not test our formulations or    Our story                 lnstagrem ;,
ingredients on animals. We are Leaping Bunny approved and a
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Certified B Corporation. Learn more
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                                                                        Regulatory policies

                                                                        Privacy policy

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                                 #:1889       WHERE TO BUY SIGN UP Search o.]                                            I

                        PRODUCTS          DRY SKIN CARE          SKIN HEALTH         CERAMIDES 101          ABOUT US           JAPANESE FACIAL CARE




                                                                                                                             Curel
                                                                                                                                 ID




                         THE IMPACT OF                                        ARE                       5 DERMATOLOGIST-APPROVED
                       FREE RADICALS                                        MINERAL                      SUMMER SKIN DEFENSES
                                                                          SUNSCREENS
                        ON YOUR SKIN                                     RIGHT FOR YOU?




Curel®HYDRA THERAPY WET SKIN MOISTURIZERS
Curel"' HYDRA THERAPY WET SKIN MOISTURIZERS are developed to be applied to wet skin just after showering. The formula works with the
water on wet skin to quickly glide into the deepest layers of the skin's surface and deliver intense hydration and Advanced Ceramide Complex to
the source of dryness. Hydra Therapy Wet Skin Moisturizers absorb instantly without leaving behind a heavy, greasy feel. Just towel dry as normal
after applying.
• Apply Daily and Experience the End of Dry Skin
• Skin Feels 3x More Hydrated
• Dermatologist Tested, National Eczema Association Seal of Acceptance & National Psorasis Foundation Seal of Approval
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                                    OUR
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MOISTURIZERS
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                                                                          Moisturizing
                                                                          Lotion
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                                                                                                                                                                              Therapeutic
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                                                                          rw- -•~.,
                                                                                                               Bumpy Skin
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                 Moisturizing can help supply your skin with long-lasting hydration. CeraVe's array of face and
               body moisturizers includes formulas that provide skin-smoothing and soothing for d[Y. skin and
                  sensitive skin, as well as targeted spots like your hands and delicate ~y_g area. We also offer
                    moisturizers that help provide relief for specific skin concerns such as itchy skin, eczema,
                 psoriasis and more - all formulated with three essential ceramides to help restore the skin's
                                     barrier and keep moisture in while keeping irritants out.




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           Moisturizing Cream
                                                     -.
                                              Daily Moisturizing                                      AM Facial
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              Barrier-restoring                     Lotion                                        Moisturizing Lotion
             moisturizing cream              Oil-free moisturizer with                             with Sunscreen
                                                                                                                                                       PM Facial
                                                   hyaluronic acid                                      Non-comedogenic                            Moistur izing Lotion
                                                                                                       moisturizer with SPF
                                                                                                                                                     Night cream with
                                                                                                                                                       niacinamide
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                                         "  u                                     •
     Skin Renewing                Eye Repair Cream              SA Cream for Rough              Hydrating
      Night Cream                Eye cream for dark circles        & Bumpy Skin               Hyaluronic Acid
    Skin renewing night                and puffiness             Salicylic acid cream 10          Serum
    cream with peptides                                          improve skin texture       Hydra1ing hyaluronlc acid
                                                                                                     serum




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  SA Lotion for Rough               Ultra-Light                  Healing Ointment               Itch Relief
     & Bumpy Skin                Moisturizing Lotion            Healing balm for cracked,   Moisturizing Cream
   Salicylic acid lotiOn for           SPF30                     chafed & extremely dry     Pramoxine hydrochloride
         rough skin                                                       skin                  itch relief cream
                                   Lightweigh1 oil-free
                                   moisturizer with SPF




                                                       VIEW 4MORE➔




               FIND OUT WHICH


CERAVE PRODUCTS
             ARE RIGHT FOR YOU
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     Explore                                                                                                      LeamAbout
    Solutions
                     Products         Baby Dove                                             Esteem
                                                                                                                     Dove     Q Search
                                                                                            Project




                                                                Dove
                                                                 ' .,
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                                                             Take care, be safe.




                                                         Body lotion
                                      Indulgent body lotions. with spa-like textures and fragrances.
                                   transform your skin care routine into a moment of ·me-time'. while
                                            leaving your skin gently cared for. ... Read more



                                      Explore our body lotion products




                                                                                           Dove
                                           Dove                                            CrCMWY'!CII



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                           Cream Oil Shea Butter Body Lotion                  Cream Oil Intensive Body Lotion

                                        ****~                                           *****
                                       +   quick v iew                                 +   quick view




                Cream Oil Intensive Body                                                                 Dove
                         Lotion                                                                          NOUlil!ISMINCi
                                                                                                         SOOY CARE


                                                                                                         Cream Oil

                Dove Cream Oil Intensive Body Lotion is a nch
                     moisturiser that nourishes your skin.
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 49 of 72 Page ID
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                                   Making the most of your products ...




                                                                             CJ
                                                             How to treat dry
                                                                  skin
           Invisible                                                                                                           How to pick new
          confidence                                                   Read More                                               beauty products
           boosters:
           exposed




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              CLICK HERE TO LEARN MORE ABOUT
              SENS ITIVE SKIN AWARENESS WEEK

            RECOMMEND ED BY DERMATOLOGISTS LOVED BY SKIN


                                                                CETAPHIL IS PROVEN TO DEFEND
                                                                AGAINST ALL 5 SIGNS OF SKIN
                                                                SENSITIVITY

                                                                            eakened Skin Barrier
                                                                            Irritation
                                                                            Roughness
                                                                            Tightness
                                                                  / G~     Dryne«

                                                                   DISCOVER MORE




WANT MORE TIPS FOR SENSITIVE SKIN?
WE GOT YOU COVERED
Exclusive offers, insights and info - straight to your inbox.
  Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 51 of 72 Page ID
   GET THE NEWSLETTER NOW          #:1897




                #1
RECOMMENDED FACIAL                              RESTORES THE SKIN                         CLINICALLY TESTED FOR
  SKINCARE BRAND                                     BARRIER                                  SENSITIVE SKIN
Cetaphil is the original sensitive cleanser   Ideal for use on even the most sensitive   Our soap-free, skin nourishing products will
recommended by dermatologists for over                         skin.                       treat your skin without irritation and is
                70 years.                                                                              hypoallergenic.




                                     SHOP YOUR SENSITIVE SKIN FAVORITES




     Cetaphil Gentle                                 Cetaphil                               Cetaphil Da ily
      Skin Cleanser                                 Moisturizing...                             Facia l...
   Hydrates, soothes and cleanses               Clinically proven to provide               Light and silky-smooth, it
         - our best-seller!                       immediate, long-lasting                hydrates while also helping to
                                                          hydration.                     defend against damaging UVA..


                   BUY NOW                                   BUY NOW                                   BUY NOW
    Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 52 of 72 Page ID
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                  "After heavy makeup days and long hours on set, I will start my nighttime
                   routine with the CetaP-hil Gentle MakeuP- Remover. I follow that with the
                     CetaP-hil Gentle Skin Cleanser to replenish and make sure I've gotten
                                                everything off."
                                                 RACHEL BROSNAHAN


                                        RACHEL'S CHOICE FOR HER SENSITIVE SKIN




                                                       •




                       NEWS AND TIPS FROM OUR SKIN EXPERT TEAM




                                             --
                                           ' - ~.

5 tips from our skin           The Complete Hand              A Guide to Dry, Oily, and   What Do 'Non-
expert to take care of. ..     Washing Routine that's...      Combination Skin            Comedogenic',...




                             SHARE YOUR SKIN STORIES
                                        #MyCetaphilSkin
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                                                                                   JERGENS.
                                                                       PRODUCTS SKIN CARETIPS

                             DAILY MOISTUR IZERS     BUTTERS           SKIN SMOOTHIES        CLEANSERS         NATURAL GLOW     SOL by Jergens

   Uom~ :, Products


    DAILYMOISTURIZERS                                                                                                                        VIEW OAllY MOISTURllERS )


    JERGENS"' Daily Moisturi1ers provide daily nourishment to soften and restore your skin forrotal body beauty.




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                  JERGENS                                      JERGENS
                    seen,                                        .......
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              Original Scent                               Ultra Healing•                         Ultra Healing+ Body Balm              Ultra Healing+ Hand & Body
             Ory Skin Motsrurizer                      EXlra Dry Skin Molstunzer                    Extra Dry Skin 60dy Salm                        Cream
                                                                                                                                          Extra Dry Skin Hand cre,m




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             Restoring Argan                              Softening Vanilla                               Shea Butter                  Nourishing Honey Moisturizer
           Oll-lntu~ Mo1stur1zcr                         011.Jnfuscd Molsturtz~r                      OIWntu!.e:d Moisturizer               OU-Infused Moisturizer




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            Hydrating Coconut                      Smoothing Avocado Moisturizer                         Daily Moisture                          Soothing Aloe
           Ori-Infused Moisturizer                       Oil•lnfused Motsturtzer                       Ory Sktn Molsturiler                 Refreshing Moisturil.er




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               Skin Firming                          Skin Firming Neck & Chest                      Wet Skin• Moisturizer                  Wet Skin• Moisturizer
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        Toning Morsturiz.er               Document
                            Toning Moisturizer with Sunscreen 28-4 with
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                     JERGENS
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             Wet Skin• Moisturizer
              With Enriching Shea Oil




      NATURAL GLOW SELF TANNERS                                                                                                            VIEW NATURAL Glow• MOISTURIZERS >


      JERGENS• Natural Glol',e moisturizers transform your skin by gradually creating fabulous. natural-looking summer color. all year round.




            • !~~
                 IN$lANT
                   SUN




                  Instant Sun®                                  •FIRMING                                    Instant Sun®                           Wet Skin Moisturizer
       Full-Body Sunless Tanning Towl!!letles               We.t Skln Molsturf%er                  Tropical Sunll!!ss Tanning Mous~




                  Instant Sun•                           Daily Moisturizer Pumps                          Daily Moisturizer                          3 Days to Glow™
             Sunless Tanning Mousse                                                                                                                     Moisturtzcr




                    +FIRMING                                       FACE                                     Instant Sun®
                 Daily Moislurtt.er                   Daily Moisturizer Sunsaeen with                        Apphcator Mitt
                                                     sunscreen Broad spectrum SPF 20
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 56 of 72 Page ID
    SOL BY JERGENS®              #:1902                       VIEW SOL BY JERGENS• )


    JERGENS• lel the sun's perfect colo1 wash over you_Made with a ldnning active derived horn natu,al ~ugars, ou1 new collection of self taone1s woi ks with your unique skin
    tone to give you ~,wtes.s, sun-inspired color..




              Sunless Tanning                                 Sunless Tanning                            Sunless Tanning                             Tone-Enhancing
          Deeper by lhe Drop Serum                             Water Mousse                                  ToweJettes                                Body Bronzer




              Sunless Tanning
                Appllcalor Mitt




    BODY BUTTERS                                                                                                                         VIEW THE BODY BUTTERS COLLECTION )


    JERGENS• Cre,na Collection body moisturiLers I ejuvenate skin with naturally-hydrating ingredients, leaving it smooth, fresh and radiant.




                                                               r<™ -

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                                                                                                              (m                                          cm
              Eucalyptus Mint                         Sweet Citrus Triple Butter Blend            Lavender Triple Butter Blend                   Rose Triple Butter Blend
                 B00yBUlter                                      BO<ly Butter                               BO<ly Butter                                BOOV Bulter




    SKIN SMOOTHIES                                                                                                                                      VIEW SKIN SMOOTHIES )


    JERGENS"' Skin Smoothies are infused with Cocoa & Shea Butters and a boost ot Vitamin E, providing soothing all-day replenishment to keep the skin healthy and
    moistw ized. Treat your skin arid youi senses!
Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 57 of 72 Page ID
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                  Skin Smoothies                            Skin Smoothies                               Skin Smoothies
              Pink Grapeft\JII & Pom<!IO                    Avocado & Apple                              Cucumber & M~lon




     BODY CLEANSERS                                                                                                                              VIEW CLEANSERS >


     JERGENS* Cleansers gently clean without stripping away natural moisture.




                                                               i                                             ,icRGENS
                                                            JERGENS.
                                                              MILD SOAP
                                                             a.we/,-




               Liquid Hand Wash                               Mild Soap                        Deep Restoring Argan Body Wash     Enriching Shea Butter Body Wash




                        ■
                      ,ERGENS




         Hydrating Coconut Body Wash




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                                    JERGENS       JERGENS
                                      Ortglnal
                                      Scent
                                     C,...,Pi-'




   PRODUCTS                                                            Chang• Countiy                        STAY CONNECTED
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   Skin Smoothies                                                      Contact Us                            P!J Pin1e1e:,t
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                               Exhibit D
          Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 60 of 72 Page ID
                                           #:1906                         ~     blea~ Care Professionals
                            VITAMINS & SUPPL.E MENTS   HEALTH INTERESTS   NUTRITION RESOURCES   ABOUT     QUIZ     CONTACT US    \ STORE LOCATOR )   _Q   Q


    SPECIALTY                           VITAMINS                          SUPPL EM EN TS                    FI SH OIL & OMEGAS

    Adult Gum mies                      BComplex                          Acidophilus                       Fish Oil & Omega 3
    CholestOff                          8 Vitamins                        Alpha Upoic Acid                  Flaxseed Oil
    Da ily Packs                        Biotin                            Collagen                          Krill Oil
    Diabetes Health Pack                Folic Acid                        CoQlO                             Triple Omega
    Hai r, Skin & Nails                 lmmuneMax                         Glucosamine
    Kids First Gummies                  Vitamin A                         L-Lysine
    SAM-e                               Vitamin C                         Lut ein
    Stress                              Vitamin D                         Melatonin                            Get Restful Sleep
                                                                                                        .. ....,,..,,To.    t
    Triplel=lex                         Vitamin E                         Probiot ics
                                        Vitamin K                                                                    ,,.
                                                                                                               Explore our range of4ep
    MULTIVITAM INS                      MIN ERALS                         HERBS                                solutions and learn about the
    Men's Mu lt ivitamins               Calcium                           Ashwagandha                          importance of sleep.
    Mu lti+ Omega 3                     Iron                              Cranberry
    M u ltivitamins                     Magnesium                         Eld erberry                              LEARN MORE
    Prenatal & Post natal               Potassium                         Garlic
    Women's Multivitamins               Zinc                              Milk Thistle
                                                                          Turmeric Curcum in




Shop by Health Interest




Immune Health                                           Heart Health                                         Bone Health
ViewAII




           Need help
           figuring out
           what your body
      Case 2:21-cv-02022-DOC-KES Document 28-4 Filed 03/29/21 Page 61 of 72 Page ID
       needs?                          #:1907
        Take our personalized quiz to
        determine your body's unique
        nutritional needs and find the
        supplement routine that's a perfect
        match for you.


           Let's Get Started




Shop Best Sellers                                                                                                                           View all




Vitamin D3 Extra Strength                Vitamin C 250 mg Gummies         Vitamin D3 2000 IU (SO mcg)              Vitamin C 1000 mg Tablets
 5000 IU (125 mcg) Softgels                                               Softgels




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      w_H_ER_E_r_o_s_u_v_ __,,)          ( ____
                                              w_H_E_RE_r_o_s_u_v_ __,,)   ( ____
                                                                               w_H_E_RE_r_o_s_u_v_ __,,)            ( ___w_H_ER_E_r_o_s_u_v___)

         LEARN MORE                              LEARN MORE                          LEARN MORE                             LEARN MORE




                                                                                                  Nutrition is in
                                                                                                  our DNA
                                                                                                  From the very beginning, we created
                                                                                                  a broad range of high-quality,
                                                                                                  nutrient-dense supplements -
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                                                         always keeping your unique needs in
                                     #:1908              mind. Think of our team of scientists
                                                                                 and nutritionists as partners in your
                                                                                     health journey, committed to
                                                                                 delivering helpful information and
                                                                                     research-backed supplemental
                                                                                     nutrition. Because we believe
                                                                                     proactive nutrition keeps you at your
                                                                                     best. we designed our products to fit
                                                                                 your lifestyle needs at every
                                                                                 stage. And we've been at it since 1971.


                                                                                       LEARN MORE




Shop Sleep Supplements                                                                                                       View all




                                                                                          7




10 mg Melatonin Gummies            Back to Sleep™             Extended Release 4 mg                   Good Sleep Gummies 4 mg
                                                              Tablets                                 Melatonin with 200 mg L-
                                                                                                      theanine



                      ~                                   ~                           ~                                      )
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                                    C      WHERE TO BUY
                                                              C         WHERETOBUY                             WHERFTOBUY



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      Check in with
      your health
      Want to know more about vitamins
      and supplements? Get expert advice
      from our Panel of PHD nutrition
      scientists.
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                                                  Yummy Ciummies
                                  Get everything you love about our vit amins and supplements in a chewable,
                                    wonderfully delicious gummy that's USP verified for purity and potency.



                   Adult Gummles                                                                             Kids First Gummles




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                    Shop our Line Up      ___,)                                                       (. _  ___Shop our Line Up   ___,)




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 Personalized                                                                                         •n.

 vitamins &
 supplements
 delivered to
 your door.                                                                     Bio,," , 000 ,,..cg


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Vitarnrns                                 Immunity                          /\bout                             I tealth [31ogs
Mult1vitarn1ns                            I !earl I lcalth                  Cont.Jct Us                        Got Qucst1or1s?
Fish Oil & Omegas
Supplements
                                          Energy
                                          Bone
                                                                            Accessibility
                                                                             Hc·alth Care PriJclitooncrs
                                                                                                               We've Got Answers
                                                                                                                                           f    w@a
Adult Gumm,es                             f::yes                             Privacy Policy
Kids First Gumrn,es                       Gene,al Wellness
                                                                            1· Do Not Sell My
Diabetes Health Pack                      Mood
                                                                            ~ o n a l Information
Daily Packs                               Mcn·s I lcalth
Minerals                                  Women's Health
Herbs                                     Digestion
                                          r>renatal & r>ostnatal
                                          I lait, Skin & Nails
                                          Sleep
                                          Beauty
                                          Joints




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 Nature Made may ma Ke changes to products r,om time to time. Please consult tt,e label on the product that you purcr,ased ror the rnosl accurate product information.
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Multivitamins                     Benefit Blends                 Whole Food Blends
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Mens                              Energy                         Multivitamins
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Womens                            Hair, Skin, Nails              Benefit Blends
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50+                               Hearl Health                   View All

Tablets                           Mental Focus

Gummies                           Sleep                                                                                      Centrum Specialist
Chewables                         Stress Relier                                                                        Q     Energy Adult
                                                                                                                       ~     Multivitamin
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                                                                                                                            Filter                         +



  Centrurn                                     Centrum                               Centrum                                Centrum

  Adults                                       Men                                   Women                                  Kids




          --            AOUL.TS


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  *****                                       ****
  A daily multivitamin formulated
  for adults to support energy,
  immunity, metabolism, and
                                               A daily multivitamin formulated
                                               for men to support metabolism,
                                               immunity, energy, and muscle
                                                                                     A daily multivitamin formulated
                                                                                     for women to support energy,
                                                                                     immunity. metabolism. and
                                                                                                                            ****
                                                                                                                            A chewable multivitamin that
                                                                                                                            contains essential vitamins and
  whole body health.'                          health.                               healthy appearance.'                   minerals important for kids.



  lfm' Bu y Now     0 Compare                  lfm' Buy Now      0 Compare           lfm' Buy Now     0 Compare             lfm' Buy Now      0 Compare




  Centrum                                      Centrum MultiGummles                  Centrum MultiGummies                   Centrum MultlGummies

  Liquid                                       Adults                                Men                                    Women
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                                    A tasty multivitamin gummy
                                    available in assorted natural        A fruit-flavored multivitamin       A flavorful multivitamin gummy

***,
A liquid multMtamin for adults
for those who have difficulty
                                    rruit flavors, contains no
                                    artificial sweeteners, and
                                    supports energy, immunity, and
                                                                         gummy formulated for men to
                                                                         support daily energy, immunity,
                                                                         metabolism, and muscle
                                                                                                             formulated for women to help
                                                                                                             support daily energy, immune
                                                                                                             function. metabolism, and
swallowing rablcts.                 metabolism.                          funcrion.                           maintain a healthy appearance.



€) Buy Now        ® Compare         ml, Buy N ow       ® Compare         ~ Buy N ow         ® Compare        ~ Buy N ow         ® Compare




Centrum MultiGummies                Centrum MultiGummies                 Centrum MultiGummies                Centrun, MuttiGummies

Adults 50+                          Men 50+                              Women 50+                           Multi+
                                                                                                             Antioxidants




A delicious gummy designed
for older adults to hr.Ip support
                                    A great-tasting multivitamin
                                    gummy tailored for men 50+ to
                                    help support heart health, brain
                                                                         ****""
                                                                         A tasty multivitamin gummy tor
                                                                         women 50+ to support heart
                                                                                                             A tasty multivitamin packed
                                                                                                             with antioxidants to support
                                                                                                             immune and brain function,
heart health, brnin function. and   function. healthy eyes. and          health. brain function. healthy     vitality. stress response. and
bone health.                        muscle function.                     eyes, and bone strength.            cellular health."



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Cantrum MultiGummics                Contrum MultiGummios                 Contrum Silver                      Centrum Silver

Multi + Omega 3                     Multi + Beauty                       Adults                              Men




A gummy multivitamin
designed with omega 3s to
support heart health, as well as
                                    A multivitamin gummy with
                                    hair. skin. and nail benefits. and
                                                                         A daily multivitamin formulated
                                                                         for adults 50+ to help promote
                                                                                                             ****"
                                                                                                             Specially formulated for men
                                                                                                             50+ to help support heart
brain function, eye health,         support for strong bones. and        heart health. brain function. and   health. brain function. healthy
energy, and immunity.·              daily energy:                        eye health.                         eyes, and muscle function.



€) Buy Now        ® Compare         €) Buy N ow         ©   Compare      ~ Buy N ow        ©   Compare       ~ Buy N ow         ©   Compare




Cenlrum Silver                      Centrum Mini~                        Centrum Minis                       Centrum Minis

Women                               Adults 50+                           Men 50+                             Women 50+
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                           ~                     1:'ntrut11
                                                  minis                            minis


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                                  ***1rlc
                                  An easy-to-swallow miniature       An easy-lo-$wallow miniature
                                                                                                        *****
                                                                                                        Two (2) of these casy-to-
                                                                                                        swallow miniature multivitamin
Specially formulated for women    multivitamin tablet for adults     multivitamin tablet for men SO•    tablets daily are designed to
50+ to help support heart         50+ designed to help support       designed to help support heart     help support heart health. brain
health. brain function, healthy   immune function. metabolism,       health, brain function, eye        function, eye health, and bone
eyes. and strong bones.           and bone health.                   health. and muscle function.'      strength in women 50+. ·



@r Buy Now         ® Compare      @r Buy Now           ® Compare     @) Buy Now        ® Compare        @r Buy Now        ® Compare




Centrum Whole Food Blend          Centrum Whole Food Blend           centrum Whole Food Benefit         Centrum Whole Food Benefit
                                                                     Blend                              Blend

Men's Multivitamin                Women's                            Sleep                              Energy
                                  Multivitamin



         -                                  - ffentrum




                                                                     Naturally supports sleep and       An energy supplement that
A complete men's multivitamin     A complete women's                 promotes a restful state for       works naturally with your body
to support your general health.   multivitamin to support general    bedtime with non-habit·            to support energy needs and
energy and immune health.•        health.                            forming ingredients.·              metabolism.·



@r Buy Now         ® Compare      @r Buy Now           0 Compare     @r Buy Now        0 Compare        @r Buy Now        6:l Compare




Centrum Whole Food Benefit        Centrum Whole Food Benefit         Centrum Whole Food Benefit         Centrum
Blend                             Blend                              Blend

Natural Beauty                    Stress & Mood                      Mental Focus                       Multi + Omega 3
                                                                                                        Men 50+



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           _,_,....,                        STRESS      ....
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                                                                               MlNIAL  ....




                                                                                                        A heart-healthy multivitamin for
Natural be;iuty and biotin                                                                              men 50+ with nutrients to
supplement packed with high-      A supplement unioucly blended      A brain and focus supµlemcnt       support energy, eye health,
potency biotin for hair, skin,    to support a healthy mood,         that is non-habit forming, safe,   brain function, and bone
and nails."                       stress response, and relaxation·   and stimulant-free."               strength·



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                                     #:1914

  Ce:ntrum                                         c~ntrum Spi:!cialist                            Centrum Spl:!cialist                             Centrum Fresh & Fruity

  Multi + Omega-3                                  Energy                                          Heart                                            Adults
  Women 50+


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              ~----
            ~Centrum·
              ffli-
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                  -.      ,



  Heart-healthy omcga-3s paired
  with nutrients for women 50+                                                                                                                      A tasty mixed berry-flavored
  to support energy, eye health.                                                                   A heart health multivitamin for                  tablet that supports energy,
  brain function. and bonc                         A d11ily multivitamin designed                  women and men, in an easy-to-                    immune and brain function, and
  strength!                                        to help support P.ncrgy level$.•                takc tablet form.                                metabolism.•



  lf;lr BuyNow         © Compare                   tf!lr Buy Now        © Compare                  1f;lr Buy Now        0   Compare                1f;lr Buy Now     © Compare




  Centrum Fresh & Fruity

  Adults SO+




  A refreshing mixed berry-
  flavored tablet designed for
  adults 50+ to support heart
  health, brain function. and
  healthy eyes.



  11EJ Buy Now         ® Compare




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      Select a Ufe Stage            ~   S.elect a Health focus                    ) ..-'         E« •  Product Typ•




       Brain Food                                  Power C™ Extra Strength                                          MultiVites
      llelp:, ~upp(Hl brdm                     r ,ovide~ high p0tenc.y
                                                                                                            A fusion of vitamins,
      noun~hmenr, stress and                   immune•supportlng Vitamin                                    r111n~fdb & ndlural frn,t
                                               C.                                                           navo, >, fo, mulated for
                                                                                                            c1.duh> .




      •     Women's Multivitamin                f9 Men's Multivitamin                                               Prenatal

      A daily muluvmimin,                      A daJly multtvttamln,                                        A dc.-1,lv mull1v1tdrn111
      spccIanv formulated to                   SPC:ChlllY formulated to                                     p10V1dU1g expeuant
      ~upporl the health nttd) of              dddr~)S th~ hec1lth need!) of                                mothers w11h the essential
      women.                                   men.                                                         vitamins & mineral1- thty
                                                                                                            need.




                                                                                                            fl Probiotic
                                                                                                            V1tafusIon•• ProbI01Ic
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       fl Tunneric Curcumin                    •      Hair Skin and Nails                                           B-12

      Help ~upport euergy                      sooo mcq 81oun to support                                    An ex(.ellent sour(.e or high
      metdboli)rn with an                      hedlthy hau, .,kin & nad~                                    potency vitamin 8-1 Z to
      excellem S,oUlce or ~,x 8                plu<, l l e):,ent1al nulrient>.•                             support energv
      v1um1ns.                                                                       ~]j)                   mrraboh~m.

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                                                                                       &NAILS




                                                                                                                    PowerC
                                                                                                            An excellent source of
                                                                                                            1mmun"' supponmg vuam1n
                                                                                                            C  as much ,1s 10
                                                                                                            rnngenne:s••
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       fl Vitamin D                           Calcium                                     Omega-3             -i
      With 2000 IU   or Vll•mm D3,
      the sunshine vitamin.
                                       Suppon your bone health
                                       with SOO mg of calcium ilnd
                                                                                    c,e,t tasting Omega-3
                                                                                    gummtes provide SO mg of
                                                                                                                  •     lal I
                                       1000 IU of vnamtn D.                         Omega 3 EPA 8, OHA, with




            CoQ10                             Melatonin                                   SleepWell

      Provides ?00 mg ot CnQ 10        Sle~µ !>Uppo,t, speoallv                     3 mq of melatonin with
      for h~an support.                fo1 muIdled for ddults. with 3               µd!J.51on Oower, thdrnormle
                                       mg of meldlOrlin ...                         & lemon bcdrn to ,upport
                                                                                    ,leep.•




                                                                                          Fiber Well

                                                                                    Help ~upporl di9e,t1ve
                                                                                    health with 5 g ol M1e1 per
                                                                                    ~ervmg .




      •     Fiber Well Fit             fl Extra Strength B-12                       •     Extra Strength Biotin
      Sg of fiber w,th rhe added       lhgh potency 812 fo, eneiqy                  I hgh p<>tency B1ot111 for hdll •
      b1?n~t1t ot 6 B Vitam1n5 to      rnetdbol1srn >UPpOIL •                       ,km & 1M1I> wpµon.
      support fat, carb and
      protem metat)ol1sm.




                                                                                          Extra Strength D

                                                                                    High potency V1tam1r1 0 3 ror
                                                                                    bone and immune supoort.




      •     Extra Strength Melatonin    Power Zinc




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      An extta boost of Melatonin      An excellent sour<e of
      fo, sleep !>UppOrt.•             immune 5UPPomng vttamm
                                       C'   as much as 10
                                       tangcmnesl ~
                                                                        PowerZin(
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